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                                                 EXHIBIT A
          CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES
                (OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023)

         WBD’s hourly rates for bankruptcy services are comparable to the hourly rates charged in

complex chapter 11 cases by comparably skilled bankruptcy attorneys. In addition, WBD’s hourly

rates for bankruptcy services are comparable to the rates charged by the firm for non-bankruptcy

engagements staffed by professionals and paraprofessionals in WBD’s domestic United States

offices, whether in court or otherwise, regardless of whether a fee application is required.


                                                             BLENDED HOURLY RATES

                                             NON-BANKRUPTCY
    CATEGORY OF TIMEKEEPER                     ENGAGEMENTS,                       CURRENT APPLICATION
                                          ALL DOMESTIC OFFICES,                         PERIOD
                                         AS OF DATE OF RETENTION1

    Partner                                                        $785.00                               $783.00
    Of Counsel                                                     $635.00                               $655.00
    Associate                                                      $449.00                               $418.00
    Paralegal                                                      $304.00                               $373.00
    All Timekeepers Aggregated                                     $514.00                               $644.00




1
         This column reflects the average billing rates, rounded to the nearest dollar, as of February 13, 2024, for
current active timekeepers in connection with non-bankruptcy engagements.



WBD (US) 4889-3188-7268v5
